Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9200 Filed 10/23/23 Page 1 of 6




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                   2:17-CR-20489-TGB-EAS-3

                    Plaintiff,               HON. TERRENCE G. BERG

             v.                               ORDER DENYING
                                           DEFENDANT’S MOTIONS
 MANUAL ARNULFO BARAJAS,
                                            FOR COMPASSIONATE
                    Defendant.            RELEASE (ECF NOS. 535, 662)


      On May 19, 2022, Manual Arnulfo Barajas filed his second motion
for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i) and

requested that counsel be appointed in the matter. ECF No. 535. The

government responded opposing early release in May 2023. ECF No. 683.

His first compassionate release motion was filed in October 2020 and

denied in February 2021. ECF No. 426, 449. After reviewing Mr. Barajas’

instant motion and considering the materials submitted by both parties,

the Court DENIES the motion for compassionate release.
                            I.    BACKGROUND
      Mr. Barajas is a 28-year-old man with asthma. He was sentenced

to 135 months in prison (release date February 7, 2027) followed by a

five-year term of supervised release for participation in a conspiracy to
distribute heroin. ECF No. 185, PageID.1425. According to the Bureau of

Prisons, his release date has been shortened to March 6, 2025. See ECF



                                      1
Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9201 Filed 10/23/23 Page 2 of 6




No. 683, PageID.6405. Mr. Barajas is currently incarcerated at RRM

Long Beach in San Pedro, California.
                         II.   LEGAL STANDARD
      There is no right to counsel in compassionate release matters.

United States v. Manso-Zamora, 991 F.3d 694, 696 (6th Cir. 2021).

      After the defendant has satisfied the administrative exhaustion

requirement of the First Step Act, United States v. Alam, 960 F.3d 831,

833 (6th Cir. 2020), the Court may review the “three substantive

requirements” for granting compassionate release. United States v.

Ruffin, 978 F.3d 1000, 1004 (6th Cir. 2020).
      First, the Court must find the existence of “extraordinary and

compelling reasons” warranting the reduction. Id. (quoting 18 U.S.C.

§ 3582(c)(1)(A)(i)).
      Second, the Court must find that a sentence reduction “is consistent

with applicable policy statements issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A). But absent “an applicable policy statement for

inmate-filed    compassionate-release     motions,   district   courts   have

discretion to define ‘extraordinary and compelling’ on their own

initiative.” United States v. Elias, 984 F.3d 516, 519–20 (6th Cir. 2021).
      Third, the Court must consider the sentencing factors in 18 U.S.C.

§ 3553(a) “to the extent that they are applicable.” 18 U.S.C.

§ 3582(c)(1)(A). These factors account for the defendant’s recidivism risk,
danger to the public, seriousness of the offense, and how to provide the


                                      2
Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9202 Filed 10/23/23 Page 3 of 6




defendant with “medical care, or other correctional treatment in the most

effective manner.” 18 U.S.C. § 3553(a)(2)(A)–(D).
                             III. DISCUSSION
      Barajas will not have an attorney in this matter, as it beyond the

first appeal of right, and he is not entitled to one. See Manso-Zamora, 991

F.3d at 696. The Court notes that he was appointed counsel to provide

supplemental briefing for his first compassionate release filing, but that

was an exception during the height of the COVID-19 pandemic and is not

the rule. ECF No. 427.1

      The Government “concedes” that Barajas has satisfied the First

Step Act’s exhaustion requirement. ECF No. 683, PageID.6405–06.

Therefore, the Court must evaluate whether there are extraordinary and

compelling circumstances warranting Barajas’ release and whether the

pertinent sentencing factors under 18 U.S.C. § 3553(a) support

compassionate release.
      A. Extraordinary and Compelling Circumstances
      While this Court and others have held that BOP’s egregious
mismanagement of serious health conditions can qualify as an

extraordinary and compelling reason to support compassionate release,

1 As this Order was being finalized, the Court noted that an appearance

by Attorney Daniel Dena of the Federal Community Defender Office was
filed in the docket on October 13, 2023. However, no pleadings or motions
have been filed since that time. If there are new grounds for relief that
Mr. Dena wishes to bring to the Court’s attention, nothing prevents him
from doing so.

                                      3
Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9203 Filed 10/23/23 Page 4 of 6




a review of the record evidence shows that such circumstances are not

present here.

      The Sixth Circuit held that “when the defendant has access to the

COVID-19 vaccine,” there are no “extraordinary and compelling” reasons

arising from COVID-19 exposure warranting sentence reduction. United

States v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021). Barajas has been

fully vaccinated against COVID-19 but not boosted as of January 2022,

though he requested that shot after refusing it in December 2021. ECF

No. 535, PageID.4172, 4205, 4202. Therefore, the Court focuses solely on

Barajas’ entitlement to compassionate release based on BOP’s alleged

failure to provide ample room for social distancing and safety from a

prison riot. ECF No. 662, PageID.6241.

      Barajas’ underlying health condition is asthma, which he uses an
inhaler twice daily to manage, and he noted chest tightness and

breathing difficulties due to his asthma or perhaps “Long COVID.” ECF

No. 662, PageID.6240. He expressed his fear about contracting COVID-

19 again. Id. Barajas has not shown that extraordinary and compelling

circumstances warrant his release. The record here does not sufficiently

demonstrate that Barajas’ fear of contracting COVID-19 and its potential

complications with his asthma in the prison environment and other

challenges in managing prisoner safety (e.g., lockdowns, violent riots)

create a serious risk to his continuing health and welfare.




                                      4
Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9204 Filed 10/23/23 Page 5 of 6




      B. Application of the § 3553(a) Sentencing Factors
      The Court must also consider whether the § 3553(a) factors weigh

in favor or against Barajas’ release. Barajas specifically raised that he

was not eligible for time credits for recidivism reduction programs under

the First Step Act and that inability would render his imprisonment term

harsher than others who are similarly situated and eligible for time

credits to reduce their sentences. ECF No. 535, PageID.4172–73. The

Court construes this to invoke “the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found
guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). However, as the

government raised, the issue is moot since he is enrolled in the

Residential Drug Abuse Program (“RDAP”) and participating in

recidivism programming. ECF No. 683, PageID.6408; ECF No. 662,

PageID.6240–41. He is now set to be released nearly two years ahead of

schedule. ECF No. 683, PageID.6408.
      Barajas wrote: “I have a home to be released to, I have opportunity

for occupation upon release, and am not in any way a danger to the

community as a whole.” ECF No. 662, PageID.6241. Nevertheless, the

Court maintains its concerns about the first § 3553 factor, the nature and

circumstances of Barajas’ offense, which has not changed, as it expressed

in the first compassionate release request.
      “[T]he seriousness and danger associated with the nature and
      circumstances of the offense of conviction in this case,
      involving concerted conduct with others to distribute multiple


                                      5
Case 2:17-cr-20489-TGB-EAS ECF No. 761, PageID.9205 Filed 10/23/23 Page 6 of 6




      kilos of fentanyl and heroin from Mexico to Michigan, would
      clearly weigh against early release, as would the factors of
      deterrence and protection of the public. So the Court would be
      unlikely to find after a full discussion of all the § 3553 factors
      that Mr. Barajas was eligible for compassionate release even
      if the medical records demonstrated moderate to severe
      asthma.”
ECF No. 449, PageID.3324.

       For the same reasons here, consideration of the § 3553(a) factors

counsels strongly against granting Barajas’ compassionate release

motion.

                            IV.   CONCLUSION

      For the foregoing reasons, Defendant’s motion for compassionate

release is DENIED.

      IT IS SO ORDERED.
 Dated: October 23, 2023       s/Terrence G. Berg
                               TERRENCE G. BERG
                               UNITED STATES DISTRICT JUDGE




                                      6
